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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

RATHBONE, LLC, on behalf of itself            §
and all others similarly situated and on      §
behalf of XTO Energy, Inc.,                   §
                                              §
       Plaintiff,                             §
                                              §
v.                                            §                         CIVIL ACTION NO. 11-149
                                              §
XTO ENERGY, INC., BOB R.                      §
SIMPSON, KEITH A. HUTTON,                     §
VAUGHN O. VENNERBERG, II,                     §
WILLIAM H. ADAMS, III, LANE G.                §
COLLINS, PHILLIP R. KEVIL, JACK               §
P. RANDALL, SCOTT G. SHERMAN,                 §
HERBERT D. SIMONS, LOUIS G.                   §
BALDWIN, TIMOTHY L. PETRUS,                   §
and GARY D. SIMPSON,                          §
                                              §
       Defendants.                            §

                     MOTION TO DISMISS FOR LACK OF SERVICE

       Nominal Defendant XTO Energy Inc. moves to dismiss this case under Fed. R. Civ. P.

4(m) for lack of service. In support of this motion, XTO would show the following:

       1.      This case was filed on March 7, 2011. [Dkt. No. 1.]

       2.      Rule 4(m) states that, “[i]f a defendant is not served within 120 days after the

complaint is filed, the court—on motion or on its own after notice to the plaintiff—must dismiss

the action without prejudice against that defendant or order that service be made within a

specified time.” Fed. R. Civ. P. 4(m).

       3.      Plaintiff has not served any defendant in this action.

       4.      The expiration of 120 days from the date the complaint was filed was July 5, 2011.
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       5.      XTO requests that this action be dismissed without prejudice. Alternatively, XTO

requests that the Court enter an order requiring that service on all defendants be made within 30

days from entry of the Court’s order.

Dated: July 6, 2011.

                                              Respectfully submitted,

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                               CERTIFICATE OF SERVICE

        I hereby certify that on July 6, 2011, I electronically filed the foregoing document with
the Clerk of Court for the U.S. District Court, Northern District of Texas, using the electronic
case filing system of the Court. The electronic case filing system sent a “Notice of Electronic
Filing” to all attorneys of record who have consented in writing to accept this Notice as service
of this document by electronic means. All others were served a copy via U.S. mail postage
prepaid.




                                                    /s/ Charles W. Schwartz
                                                    Charles W. Schwartz




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